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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    HUJAZI,                                             Case No. 19-cv-04559-EMC
                                   8                   Plaintiff,
                                                                                            ORDER TO SHOW CAUSE
                                   9            v.

                                  10    SCHOENMANN,
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                              Plaintiff/Appellant filed a Notice of Appeal on August 7, 2019. The record on appeal has
                                  13
                                       not yet been perfected.
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                                  15          THE COURT hereby orders Plaintiff/Appellant to show cause as to why this case should
                                  16   not be dismissed for failure to prosecute and/or failure to perfect the record on appeal.
                                  17

                                  18          Plaintiff/Appellant is directed to respond to the Order to Show Cause by August 24, 2020.
                                  19          IT IS SO ORDERED.
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                                  21   Dated: August 3, 2020
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                                  23                                                    ______________________________________
                                  24                                                     EDWARD M. CHEN
                                                                                         United States District Judge
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